Case 1:11-md-02296-R.]S Document 7296 Filed 03/13/18 Page 1 of 2

 

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N|ARK BRNOV|CH AsslsTANT ATToRNEv GENERAL
A‘rToRNEY GENERAL STATE GOVERNMENT D'V'S'ON DlREcT PHoNE No. (602) 542-8325
AGENcY CouNsEL SEchON vALER:E.MARc\ANo@AzAG.Gov

lVlarch 131 2018

The Honorable Richard J. Sullivan
United States District Court Judge
Southern District of New York

40 Fo|ey Square, Room 2104
New York, NY 10007

Re: fn re Tribune Co. Frauduienf Conveyance l_ifigati`on, 11-|V|D-2296; K/'rschner v.
Fr`tzSimons, et al., No. 12-CV-2652 (“FitzSimmons”)

Dear Judge Sullivan:

Undersigned counsel represents the Arizona State Treasurer (“Treasurer”’) and the
Arizona State Retirement System ("ASRS”) as named Shareholder Defendants on Exhibit A to
the Fifth Amended Comp|aint in connection With the above referenced matter. The Treasurer
and ASRS oppose the Nlarch 8, 2018 submission filed by the Tribune Litigation Trustee
(“Trustee”).

Without waiver of any rights or defensesl which are expressly reserved, including but not
limited to the safe harbor provisions of 11 U.S.C. § 546(e), Trustee’s request is properly denied
for the reasons set forth in (i) the July 28, 2017 Letter submitted to this Court by Ropes & Gray,
l_LP, on behalf of Exhibit A Shareho|der Defendants’ Executive Committee in FitzSimmons, (ii)
the July 28, 2017 Letter submitted counsel for Defendants Citigroup Globa| lvlarl<ets |nc. and
Re|ated Entities, Bank of America, National Association and Re|ated Entities, and (iii) the July
28, 2017 Letter submitted by counsel for B|ackport Capital Fund Ltd., all of Which is incorporated
herein by reference

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Case 1:11-md-02296-R.]S Document 7296 Filed 03/13/18 Page 2 of 2

The Honorab|e Richard J. Sul|ivan
Nlarch 13, 2018
Page 2

The Treasurer and ASRS further join in submittal(s) made by counsel for the
Shareholder Defendants’ Executive Committee as and when filed in response to the Trustee’s
lVlarch 8, 2018 submission and by counsel for Citigroup Globa| lVlarkets, lnc., Citibank, Nationa|
Association, Citicorp Securities Services, lnc., and Citigroup Global lVlarkets LTD (Dkt 7291).

Sincere|y,

\/a|erie L. N|arciano
Assistant Attorney General

cc: David Ni. Zensky (via e-mai|)
A|l counsel/parties of record (via ECF)

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